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                                                       UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

    Attorney or Party Name, Address, Telephone & FAX Nos.,
    State Bar No. & Email Address                                                CASE NO.:
    Randolph R. Ramirez Esq. (297928)
                                                                                 CHAPTER: 13
    1613 Chelsea Road No. 186
    San Marino, OA 91108                                                         ADVERSARY NO.:
    Tel: (626) 765-5411                                                          {if applicable)
    Fax: (626) 784-0480
    Attorney for: Rose R. Ramirez
    In re:

                                                                                        E L E C T R O N I C F I L I N G D E C L A R AT I O N
 ROSE R. RAMIREZ
                                                                                                            (INDIVIDUAL)
                                                                                                           [LBR 1002-1 (f)]

I                                              Debtor(s).                                                         [                                |
       ^/Petition, statement of affairs, schedules or lists Date ﬁled:
       0 Amendments to the petition statements of affairs, schedules or lists Date ﬁled: I
       □                 Other                     (spec^):                        Date                    filed:                   I
PART I - DECLARATION OF DEBTOR(S) OR OTHER PARTY
         I (We), the undersigned Debtor(s) or other party on whose behalf the above-referenced document s being ﬁled (Signing
Party), declare under penalty of perjury that; (1) I have read and understand the above-referenced documqUt beina ﬁled
electronically (Filed Document); (2) the information provided in the Filed Document is true, correct and confj Diete; (3) the 7s/,"
followed by my name, on the signature line(s) for the Signinq Party in the Filed Document serves as my sig lature and denotes
the making of such declarations, requests, statements, veriﬁcations and certiﬁcations to the same extent ar d effect as my actual
signature on such signature line(s); (4) I have actually signed a true and correct printed copy of the Filed Dpcument in such
places and provided the executed printed copy of the Filed Document to my attomey; and {y I have authored my attomey to
ﬁle the electronic version of the Filed Document and this Declaration with the Uniteo States Bankruptcy Court for the Central
District of California. If the Filed Document is a petition. I further declare under penalty of perjury that I have completed and
signed a Statement About Your Social Security Number^OJ5cia\ Form 121) and provided the executed original to my attorney.
       Date: 08/27/2108
                                                            SigiTalyfg..(9Sh^Written) of Debtor or signing party
                                                             ROSE R. Rj<MIREZ
                                                             Printed name of signing party


                                                             signature (nandwntten) of Debtor 2 (Joint                3r if applicable

                                                             'rinted name of Debtor 2, if applicable
PART II - DECLARATION OF ATTORNEY FOR SIGNING PARTY
       I, the undersigned attomey for the Signing Party, declare under penalty of perjury that; (1) the Vsl," followed by my
name, on the signature lines for the attorney for the Signing Party in the Filed Document serves as my sidnature and denotes
the making of such declarations, requests, statements, venﬁcations and certiﬁcations to the same extent and effect as my actual
signature on such signature lines; (2) the Signing Party signed Part 1 - Declaration of Debtor(s) or Of/rer Party of this Declaration
before I electronically submitted the Filed Document for ﬁﬁng with the United States Bankruptcy Court forlihe Central District of
California; (3) I have actually signed a true and correct printed copy of the Filed Document in the locations that are indicated by

executed onginals of this Declaration and the Filed Document for a period of ﬁve years after the closing qf the case in which
are ﬁled; and (5) I shall make the executed originals of this Declaration and the Filed Document available! for review upon
request of the court or other parties. If the Filed Document is a petition, I further declare under penalty of perjury that: (1) the
Signing Party completed and signed the Statement About Your Social Security Numbers (Ofﬁcial Form 121) before I
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                                  FiledDocument
                                        Document for for ﬁling
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                                                                     the LInited
                                                                          United States Bankruptcy Court for the (Deritrai District of
California; (2)
             2) II shall
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                                    the executed
                                        executed original
                                                   original of
                                                             of the
                                                                 the Statement
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                                                                                                      ^ £ ^request
                                                                                                            ^ ^ — of' the
                                                                                                                        ' court.
      Date: 08/27/2018
                                                                 Signature (handwritten) of attoTney for Signing Party
                                                                 R  A N DName
                                                                 Printed  O L PofHattomeyfor
                                                                                   T T R A MSigning
                                                                                             I R E ZParty
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December 2015'^20^6                                F                            1002-1.DEC.ELEC.FILING.INDIVIDUAL
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                             Barclays Bank
                             PO BOX 8803
                             Wilmington, DE 19899


                             Capital One
                             15000 Capital One Drive
                             Richmond, VA 23238


                             Capital One Bank
                             15000 Capital One Drive
                             Richmond, VA 23238


                             Capitol One Bank USA NA
                             15000 Capital One Dr.
                             Richmond, VA 23238


                             Discover Card
                             PO BOX 15316
                             Wilmington, DE 19850


                             SYNCB/Care Credit
                             PO Box 965036
                             Orlando, FL 32896-5036


                             SYNCB/TJX COS
                             PO Box 965015
                             Orlando, FL 32896-5036
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                             SYNCB/Walmart
                             PO Box 965024
                             Orlando, FL 32896-5036


                             Sams Club
                             PO Box 965005
                             Orlando, FL 32896


                             TBOM/ATLS/FORTIVA THD
                             PO BOX 10555
                             Atlanta, GA 30310


                             Wells Fargo Bank
                             PO Box 51166
                             Los Angeles, CA 90051
